Case 21-11238-CTG Doc1 Filed 09/10/21 Page 1 of 24

 

Fill in this information to identify the case:

United States Bankruptcy Court for the:

District of Delaware

(State)

Case number (ifknown:  24-S—S—S—SC Catto’ 14 , L) Check if this is an

amended filing

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/20

 

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Iindividuals, is available.

1. Debtor’s name Agspring Mississippi Region, LLC

 

 

2. All other names debtor used

 

in the last 8 years

 

 

Include any assumed names,
trade names, and doing business

 

as names

 

 

3. Debtor’s federal Employer 32
Identification Number (EIN) ©

 

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business

5101 College Boulevard

 

 

 

 

 

 

Number Street : Number Street
P.O. Box
Leawood KS 66211
City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business
Johnson County
County

 

 

Number Street

 

 

City State ZIP Code

 

5. Debtor’s website (URL) https://agspring.com

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 21-11238-CTG Doc1 Filed 09/10/21 Page 2 of 24

Debtor Agspring Mississippi Region, LLC Case number (it known_21-

Name

 

6. Type of debtor

Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
Q Partnership (excluding LLP)
(J Other. Specify:

 

 

7. Describe debtor’s business

B. Check ail that apply:

A. Check one:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Reali Estate (as defined in 11 U.S.C. § 101(51B))
Q) Railroad (as defined in 11 U.S.C. § 104(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

QO) Clearing Bank (as defined in 11 U.S.C. § 781(3))

& None of the above

    

OQ Tax-exempt entity (as described in 26 U.S.C. § 501)

C) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

() investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

 

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See

http:/Awww.uscourts.gov/four-digit-national-association-naics-codes .

 

49:3 4
8. Under which chapter of the Check one:
Bankruptcy Code is the OQ
debtor filing? Chapter 7
CJ Chapter 9

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

Official Form 201

Chapter 11. Check all that apply:

(J The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
14.U.S.C. § 1116(1)(B).

(J The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B). ,

Oa plan is being filed with this petition.

Q Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126{b).

CL) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CL) The debtor is a shel! company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

_ CQ Chapter 12

Voluntary Petition for Non-individuals Filing for Bankruptcy page 2
Case 21-11238-CTG Doc1 Filed 09/10/21 Page 3 of 24

Debtor Agspring Mississippi Region, LLC Case number Grknown)__21-

Name

 

9. Were prior bankruptcy cases QQ No
filed by or against the debtor

within the last 8 years? C) Yes. District When Case number

MM/ DD/YYYY
If more than 2 cases, attach a

separate list. District When Case number

MM / DD/YYYY

 

 

410. Are any bankruptcy cases OC) No
ending or being filed by a
aesiness partner oran y Yes. Debtor See Schedule 1 Relationship
affiliate of the debtor? — District When

 

List all cases. If more than 1, MM / DD /YYYY

attach a separate list. Case number, if known

 

11. Why is the case filed in this Check all that apply:

district? . ., — . ee Se ees
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Cla bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or have No
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Check aif that apply.)
attention?

( Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Ot poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

CI} it needs to be physically secured or protected from the weather.

CJ it inctudes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

L) other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?

CL) No

UI Yes. insurance agency

 

Contact name

 

Phone

 

pn Statistical and administrative information

Official Form 201 Voiuntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 4 of 24

Debtor Agspring Mississippi Region, LLC

 

Name

Case number (if known_2.1-

 

13. Debtor’s estimation of Check one:

available funds

& Funds will be available for distribution to unsecured creditors.

C) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

 

. ' BQ 1-49 Q) 4,000-5,000 C) 25,001-50,000
44, Estimated number o L} 50-99 LJ 5,001-10,000 LJ 50,001-100,000
CJ 100-199 CJ 10,001-25,000 L) More than 100,000
(J 200-999
C) $0-$50,000 C) $1,000,001-$10 million C) $500,000,001-$1 billion

15. Estimated assets Q) $50,001-$100,000

LI $100,004-$500,000
CL) $500,001-$1 million

$10,000,001-$50 million
CI $50,000,001-$100 million
CL $100,000,001-$500 million

(2 $1,000,000,001-$10 billion
(J $10,000,000,001-$50 billion
() More than $50 billion

 

C) $0-$50,000

C3 $50,001-$100,000
Q $100,001-$500,000
CL} $500,001-$1 million

46. Estimated liabilities

CL} $1,000,001-$10 million

C3 $10,000,001-$50 million
C3 $50,000,001-$100 million
$100,000,001-$500 million

C3 $500,000,001-$4 billion

CJ $1,000,000,004-$10 billion
LJ $10,000,000,001-$50 billion
CJ More than $50 billion

 

pe Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

: $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

debtor petition.

| have been authorized to file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedon 09 10 2021

(DD IYYYY
x Kloh—

Signature of authorized representative of debtor

Title Chief Restructuring Officer

 

Kyle Sturgeon
Printed name

 

Official Form 201

Voluntary Petition for Non-individuals Filing for Bankruptcy

page 4
Case 21-11238-CTG Doc1 Filed 09/10/21 Page 5 of 24

 

 

 

 

Debtor Agspring Mississippi Region, LLC Case number (it known)_21-
Name .
18. Signature of attorne
g y x /s/ Laura Davis Jones Date 09/10/2021
Signature of attorney for debtor MM /DD /YYYY

Laura Davis Jones
Printed name

PACHULSKI STANG ZIEHL & JONES LLP

 

 

 

 

 

Firm name

919 North Market Street, 17th Floor
Number Street

Wilmington DE 19801
City State ZIP Code
(302) 652-4100 ljones@pszjlaw.com
Contact phone Email address

2436 DE
Bar number State

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
Case 21-11238-CTG Doc1 Filed 09/10/21 Page 6 of 24

Rider 1 to Voluntary Petition

On the date hereof, each of the affiliated entities listed below, including the debtor in this chapter
11 case (collectively, the "Debtors"), filed a petition in this Court for relief under chapter 11 of
title 11 of the United States Code.

Agspring Mississippi Region, LLC
Agspring MS 1, LLC

Agspring MS, LLC

Lake Providence Grain and Rice LLC

Bayou Grain & Chemical Corporation
Case 21-11238-CTG Doc1 Filed 09/10/21 Page 7 of 24

AGSPRING MISSISSIPPI REGION, LLC
AGSPRING MS 1, LLC
AGSPRING MS, LLC
LAKE PROVIDENCE GRAIN AND RICE LLC
BAYOU GRAIN & CHEMICAL CORPORATION

Omnibus Written Consent for Big River Entities
September 10, 2021

The undersigned, (a) constituting all of the members of the Board of Managers with
authority to vote on the matter presented herein and the undersigned holders of at least 75% of
the issued and outstanding Class A Common Units of Agspring Holdco, LLC, a Delaware
limited liability company (“Holdco”), which is the sole member of Agspring, LLC, a Delaware
limited liability company (“Agspring LLC”); (b) the sole members of (i) Agspring Mississippi
Region, LLC, a Delaware limited liability company (“AMR”); (i1) Agspring MS 1, LLC, a
Delaware limited liability company (“Agspring MS 1’), (iii) Agspring MS, LLC, a Delaware
limited liability company (“Agspring MS”), and (iv) Lake Providence Grain and Rice, LLC, a
Delaware limited liability company (“LakeProv’); (c) the sole shareholder and all of the
members of the Board of Directors with authority to vote on the matter presented herein of
Bayou Grain & Chemical Corporation (“Bayou,” together with AMR, Agspring MS 1, Agspring
MS, and LakeProv, the “Big River Entities,” and collectively with Holdco and Agspring, LLC,
the “Company”); and (d) the Chief Restructuring Officer of the Big River Entities, hereby
consent in writing, pursuant to the laws of their jurisdictions of formation, and hereby adopt the
following resolutions, effective as of the date first written above, and waive all notice
requirements in connection therewith.

WHEREAS, Holdco is the sole member of Agspring LLC.

WHEREAS, Agspring LLC is the sole member of AMR.

WHEREAS, AMR is the sole member of Agspring MS 1.

WHEREAS, Agspring MS 1 is the sole member of Agspring MS.

WHEREAS, Agspring MS is the sole member of LakeProv.

WHEREAS, LakeProv is the sole shareholder of Bayou.

WHEREAS, the members, shareholder, and directors have considered the financial and

operational aspects of the Big River Entities’ business and the recommendations of the Big River
Entities’ professionals and advisors;

WHEREAS, the members, shareholder, and directors have reviewed the historical

performance of the Big River Entities, the market for the Big River Entities’ services, and the
current and long-term liabilities of the Big River Entities; and

US_Active\1 18939382\V-1
Case 21-11238-CTG Doc1 Filed 09/10/21 Page 8 of 24

WHEREAS, the members, shareholder, and directors have reviewed, considered, and
received the recommendations of the senior management of the Big River Entities and the Big
River Entities’ professionals and advisors as to the terms of the proposed restructuring to be
implemented during the course of a chapter 11 case of each of the Big River Entities.

WHEREAS, Agspring LLC, as the sole member of AMR, AMR, as the sole member of
Agspring MS 1, Agspring MS 1, as the sole member of Agspring MS, Agspring MS, as the sole
member of LakeProv, LakeProv as the sole shareholder of Bayou, and the Board of Directors of
Bayou have authorized each of the respective Big River Entities to take the actions set forth in
these resolutions.

NOW, THEREFORE, be it resolved as follows:

RESOLVED, that in the judgment of the members, shareholder, and directors of each of
the Big River Entities, it is necessary, advisable and in the best interests of each of the Big River
Entities, having considered the interests of creditors and other interested parties, that a voluntary
petition be filed by each of the Big River Entities under the provisions of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”);

RESOLVED, FURTHER, that Kyle Sturgeon, Chief Restructuring Officer, (the
“Authorized Officer”) in his own discretion be, and hereby is, authorized and directed on behalf
of and in the name of the Big River Entities to execute and file and to cause counsel for the Big
River Entities to prepare with assistance of the Company as appropriate all petitions, schedules,
lists and other papers, documents and pleadings in connection with the Big River Entities’
bankruptcy cases, and to take any and all action which the Authorized Officer, or such other
officers or representatives as the Authorized Officer may designate, deem necessary and proper
in connection with the Big River Entities’ bankruptcy cases;

RESOLVED, FURTHER, that the Big River Entities, the Authorized Officer, and such
other officers or representatives as the Authorized Officer may designate, be, and hereby are,
authorized and empowered to take or cause to be taken any and all such other and further action,
and to execute, acknowledge, deliver and file any and all such instruments as they, in their
discretion, may deem necessary or advisable in order to carry out the purpose and intent of the
foregoing resolutions;

RESOLVED, FURTHER, that, in connection with the commencement of the Chapter
11 case, the Authorized Officer, and such other officers or representatives as the Authorized
Officer may designate, is authorized and directed to seek approval of an order or orders
authorizing the incurrence of post-petition debtor-in-possession financing, and any such
authorized officer or representative be, and hereby is, authorized, empowered, and directed to
negotiate, execute, and deliver any and all agreements, instruments, or documents, by or on
behalf of the Big River Entities, necessary to implement such orders, as well as any additional or
further agreements for the use of cash collateral in connection with the Chapter 11 case, which
agreement(s) may require the Big River Entities to grant liens to the Big River Entities’ post-
petition debtor in possession lenders and its prepetition lenders as adequate protection, each other
agreement, instrument, or document to be executed and delivered in connection therewith, all
with such changes therein and additions thereto as the Authorized Officer, or such other officers
Case 21-11238-CTG Doc1 Filed 09/10/21 Page 9 of 24

or representatives as the Authorized Officer may designate, approves, such approval to be
conclusively evidenced by the taking of such action or by the execution and delivery thereof,
subject to Bankruptcy Court approval; and

, RESOLVED, FURTHER, that the Authorized Officer, or such other officers or
representatives as the Authorized Officer may designate, be, and hereby is, authorized, directed
and empowered in the name and on behalf of each of the Big River Entities, to negotiate, execute
and deliver an agreement for post-petition senior secured debtor-in-possession financing (the
“DIP Financing”) of up to $1,500,000.00 from any party deemed acceptable to the Authorized
Officer, subject to the terms and conditions set forth by the Bankruptcy Court in a final order
approving such financing, and the Authorized Officer, and such other officers or representatives
as the Authorized Officer may designate, is authorized to take any and all action to consummate
the DIP Financing.

Omnibus Resolutions

RESOLVED, FURTHER, that the undersigned hereby ratify and confirm all actions
taken by each of the Big River Entities, the Authorized Officer and other officers and
representatives of the Big River Entities prior to the date hereof in furtherance of the foregoing
resolutions.

RESOLVED, FURTHER, that this consent may be executed electronically (including
by .pdf) in any number of counterparts, each of which shall constitute an original, but all of
which when taken together shall constitute a single consent, and shall have the force and effect
of an action of the respective boards, sole members, or sole shareholders, at a duly called and
held meeting of such parties.

[Signature Page Follows]
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 10 of 24

This Written Consent is effective as of the date first written above.
On behalf of:
AGSPRING MISSISSIPPI REGION, LLC;

By its sole member Agspring, LLC
By its sole member Agspring Holdco, LLC

Board ot Managers

Recused

 

Name: Greg Kennedy

 

Name: Eric Knight

 

Name: Mark Beemer

AGSPRING MISSISSIPPI REGION, LLC
By its Chief Restructuring Officer

 

Name: Kyle Sturgeon
Title: Chief Restructuring Officer of Agspring
Mississippi Region, LLC

[Signature Page to Written Consent for Big River Entities - Page J of 4]
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 11 of 24

This Written Consent is effective as of the date first written above.
On behalf of:
AGSPRING MISSISSIPPI REGION, LLC

By its sole member Agspring, LLC
By its sole member Agspring Holdco, LLC

Board of Managers

 

Name: Greg Kennedy

aa? f fx a OG 7
we Af few ye ;
5, Uf} s » hj
Name: Eric Knight LY ,

 

 

Name: Mark Beemer

AGSPRING MISSISSIPPE REGION, LLC
By its Chief Resiructuring Officer

 

Name: Kyle Sturgeon
Title: Chief Restructuring Officer of Agspring
Mississippi Region, LLC

[Signature Page to Written Consent for Big River Entities - Page 1 of 4]
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 12 of 24

This Written Consent is effective as of the date first written above.
On behalf of:

AGSPRING MISSISSIPPI REGION, LLC
By its sole member Agspring, LLC
By its sole member Agspring Holdco, LLC

Board of Managers

 

Name: Greg Kennedy

 

Name: Eric Knight

SBAALEZ Pa

Name: Mark Beemer

AGSPRING MISSISSIPPI REGION, LLC
By its Chief Restructuring Officer

 

Name: Kyle Sturgeon
Title: Chief Restructuring Officer of Agspring
Mississippi Region, LLC

Signature Page to Written Consent for Big River Entities — Page | of 4]
& § 8 Se f Of 4
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 13 of 24

This Written Consent is effective as of the date first written above.

On behalf of:

AGSPRING MISSISSIPPI REGION, LLC
By its sole member Agspring, LLC
By its sole member Agspring Holdco, LLC

Board of Managers

 

Name: Greg Kennedy

 

Name: Eric Knight

 

Name: Mark Beemer

AGSPRING MISSISSIPPI REGION, LLC
By its Chief Restructuring Officer

Alon—

Name: Kyle Sturgeon
Title: Chief Restructuring Officer of Agspring

Mississippi Region, LLC

Signature Page to Written Consent for Big River Entities — Page I of 4
[S P Ww C for Big R E P 1 of4
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 14 of 24

This Written Consent is effective as of the date first written above.

On behalf of:

AGSPRING MISSISSIPPI REGION, LLC
By its sole member Agspring, LLC
By its sole member Agspring Holdco, LLC

CLASS A COMMON UNITHOLDERS:

HVS V LLC

         

Name: Adam L. Gubner
Title: Authorized Person

TOBI XXI LLC

w» Leb AI

Name: Adam L. Gubner
Title: Authorized Person

 
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 15 of 24

This Written Consent is effective as of the date first written above.

On behalf of:

AGSPRING MS 1, LLC

By its sole member Agspring: Mississippi Region, LLC &
Chief Restructuring Officer

AGSPRING MS, LLC

By its sole member Agspring MS 1, LLC &

Chief Restructuring Officer

LAKE PROVIDENCE GRAIN & RICE, LLC

By its sole member Agspring MS, LLC &

Chief Restructuring Officer

bl Sh—

Name: Kyle Sturgeon

Title: Chief Restructuring Officer of Agspring Mississippi
Region, LLC, Agspring MS 1, LLC, Agspring MS, LLC &
Lake Providence Grain & Rice, LLC
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 16 of 24

This Written Consent is effective as of the date first written above.
On behalf of:

BAYOU GRAIN & CHEMICAL CORPORATION
By its sole shareholder Lake Providence Grain and Rice,

ILC & oh Restructuring Officer

eet

 

Name: Kyle Sturgeon
Title: Chief Restructuring Officer of Lake Providence Grain
and Rice, LLC & Bayou Grain & Chemical Corporation

Board of Directors

 

Name: Eric Knight

 

Name: Mark Beemer
Case 21-11238-CTG Doc1 Filed 09/10/21 Page 17 of 24

This Written Consent is effective as of the date first written above.

On behalf of:

BAYOU GRAIN & CHEMICAL CORPORATION
By its sole sharehoider Lake Providence Grain and Rice,
LLC & Chief Restructuring Officer

 

Name: Kyle Sturgeon
Title: Chief Restructuring Officer of Lake Providence Grain
and Rice, LLC & Bayou Grain & Chemical Corporation

  
 

ae of a

fe Ga ty XL. V

Name: Eric Knight //

 

Name: Mark Beemer
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 18 of 24

This Written Consent is effective as of the date first written above.

On behalf of:

BAYOU GRAIN & CHEMICAL CORPORATION
By its sole shareholder Lake Providence Grain and Rice,
LLC & Chief Restructuring Officer

 

Name: Kyle Sturgeon
Title: Chief Restructuring Officer of Lake Providence Grain
and Rice, LLC & Bayou Grain & Chemical Corporation

Board of Directors

 

Name: Eric Knight

SBA hin

Name: Mark Beemer
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 19 of 24

Fill inthis information to identify the case:

Debtorname Agspring Mississippi Region, LLC

 

United States Bankruptcy Court for the District of

Case number (If known): 21-

 

(state) Delaware

 

| Official Form 204

[-] Check if this is an
amended filing

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest

Unsecured Claims and Are Not Insiders

12/19

 

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

    

    

 

 

 

 

 

 

 

 

 

 

 

 

US_Active\1 1895241 3\V-3

 

 

otal clair, if Deduction: Unsecured claim
i for value
of
collateral
or setoft
c/o John Ross
ete edt 1424 Hwy 138E .
J&L Farms Partnership Tillar, AR 71670 Trade Debt $25,202.00
Tel: (870) 918-2002
2.
Brad Bruce REDACTED Trade Debt $22,676.35
3.
Donald and Dawn Myers | REDACTED Trade Debt $16,946.17
4,
Ann Johnson REDACTED Trade Debt $16,721.33
5. .
c/o Lindy
Ty & Laura Rogers REDACTED Trade Debt $11,815.11
6.
Gabriel Swarek REDACTED Trade Debt $10,712.00
pps
George Allen Robinson REDACTED Trade Debt $5,891.65

 

 

 
Debtor

 

 

Agspring MisGase2itedib2.as-C TG

Name

Doc 1 Filed 09/102 dumdPage 20-0f 24

 

    

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Jotal claim, if Deduction: Unsecured claim
partially for value
secured at
collateral
or setoft
Niki Johnson REDACTED Trade Debt $5,580.05
?: 1021 Towhee D
. owhee Dr.
Betty Ogden Marital Shreveport, LA 71106 Trade Debt $2,081.88
Deduction Trust
10.
Stewart & Jamie Machen |REDACTED Trade Debt $2,035.68
11.
3063 Hwy 586
Costello Farms LLC Oak Grove, LA 71263 Trade Debt $1,924.73
Tel: (318) 428-9560
12. P.O. Box 266
. . .O. Box
rans aw - mPPLC— | Greenville, MS 38702 Trade Debt $1,860.19
MUSE ACCOUR Tel: (662) 430-2413
43. 3300 Wells Fargo Center
90 South Seventh St. .
Maslon LLP Minneapolis, MN 55402 Trade Debt $1,045.50
Tel: (612) 672-8200
14,
Dora Dean Sowell REDACTED Trade Debt $720.05
15.
Kurt Jones REDACTED Trade Debt $573.70
16.
Howie Farms Trucking 2690 Highway 139
LLC Monroe, LA 71203 Trade Debt $508.76
17. c/o Larry G. Tubbs
P.O.Box 38 Disputed
Larry Tubbs Pioneer, LA 71266 Secured Debt | Contingent TBD TBD TBD
Tel: (318) 428-2439 Unliquidated
18. c/o Larry G. Tubbs
P.O.Box 38 Contingent
‘Tubbs Rice Dryers, Inc., Pioneer, LA 71266 Secured Debt Unli Ne lated TBD TBD TBD
Tel: (318) 647-3730 4
19. c/o Larry G. Tubbs
P.O.Box 38 Contingent
Chief Ventures, L.L.C. Pioneer, LA 71266 Secured Debt Usk ae ted TBD TBD TBD
Tel: (318) 428-2439 4
Official Form 204 Chapter 14 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2

US_ Active\118952413\V-3
Debtor Agspring MisGa@aeiddedib2as-CTG Doc1 Filed 09/102 1inwdPage 2-0f 24

 

 

Name

  

Totad claim, if

Deduction

    

Unsecured claim

 

    

  

 

 

 

 

partially for value
secured of
sollateral
or setoff
20. c/o Larry G. Tubbs
P.O.Box 38
Big River Grain Pioneer, LA 71266 De Contingent |
Tel: (318) 428-2439 _ Secured Debt | Untiquidated | TBP TBD TBD
Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 3

US_Active\118952413\V-3
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 22 of 24

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11
AGSPRING MISSISSIPPI REGION, LLC, et al.,! | Case No. 21- (__)
Debtors. (Joint Administration Requested)

 

 

COMBINED CORPORATE OWNERSHIP STATEMENT
AND LIST OF EQUITY SECURITY HOLDERS PURSUANT TO
FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), and 7007.1
Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy
Procedure, Agspring Mississippi Region, LLC. and certain of its affiliates, who are or may be
debtors and debtors in possession in the above-captioned cases (each a “Debtor” and collectively,
the “Debtors”’), hereby state as follows:
1. Debtor Agspring Mississippi Region, LLC is 100% owned by non-debtor Agspring,
LLC, which is 100% owned by non-debtor Agspring Holdco, LLC.
2. Debtor Agspring MS 1, LLC is 100% owned by Debtor Agspring Mississippi
Region, LLC.
3. Debtor Agspring MS, LLC is 100% owned by Debtor Agspring MS 1, LLC.
4. Debtor Lake Providence Grain and Rice LLC, is 100% owned by Debtor Agspring
MS, LLC |
5. Debtor Bayou Grain and Chemical Corporation is 100% owned by Debtor Lake

Providence Grain and Rice LLC.

 

' The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Agspring Mississippi Region, LLC (9147); Agspring MS 1, LLC (6456); Agspring MS, LLC (2692); Lake
Providence Grain and Rice LLC (1986); and Bayou Grain and Chemical Corporation (7831). The Debtors’ mailing
address is 5101 College Blvd., Leawood, KS 66211.

DOCS _DE:236022.1 01213/001
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 23 of 24

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

AGSPRING MISSISSIPPI REGION, LLC, et al.,!_ | Case No. 21- a)
Debtors. (Joint Administration Requested)

 

 

CERTIFICATION OF CREDITOR MATRIX

Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above captioned debtor and its
affiliated debtors in possession (collectively, the "Debtors") hereby certify that the Creditor Matrix
submitted herewith contains the names and addresses of the Debtors' creditors. To the best of the
Debtors' knowledge, the Creditor Matrix is complete, correct, and consistent with the Debtors'
books and records.

The information contained herein is based upon a review of the Debtors' books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtors.

 

! The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Agspring Mississippi Region, LLC (9147); Agspring MS 1, LLC (6456); Agspring MS, LLC (2692); Lake
Providence Grain and Rice LLC (1986); and Bayou Grain and Chemical Corporation (7831). The Debtors’ mailing
address is 5101 College Blvd., Leawood, KS 66211.

US_Active\118893201\V-1
DOCS_DE:236023.1 01213/001
Case 21-11238-CTG Doci1 Filed 09/10/21 Page 24 of 24

Fill in this information to identify the case and this filing:

Debtor Name

Aaspring Mississippi Region, LLC

United States Bankruptcy Court for the: District of Delaware

(State)

Case number (if known): 21-

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

P| Declaration and signature

! am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Q
QO

B BB OOOOD

Schedule A/B: Assets~Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Combined Corporate Ownership Statement and List of Equity Security Holders,
Other document that requires a declaration_Certification of Creditor Matrix

! declare under penalty of perjury that the foregoing is true and correct.

Executed on 09/10/2021 x /s/ Kyle Sturgeon

 

MM /DD/YYYY Signature of individual signing on behalf of debtor

Kyle Sturgeon
Printed name

Chief Restructuring Officer

Position or relationship to debtor

 

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
